Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 1 of 13 PageID: 187



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


                                       :
 SUSAN MOUW, individually              :   Civil Action No. 16-cv-2947-AET-DEA
 and on behalf of all others similarly :
 situated,                             :
                                       :   Hon. Anne E. Thompson, U.S.D.J.
                            Plaintiff, :
                                       :
 v.                                    :
                                       :
 NATIONAL AUTO DIVISION,               :   MEMORANDUM OF LAW IN
                                       :   SUPPORT OF PLAINTIFF'S
                                       :   MOTION FOR LEAVE
 LLC, a New Jersey limited liability :     TO FILE FIRST AMENDED CLASS
 company,                              :   ACTION COMPLAINT
                                       :
                            Defendant. :
                                       :

 I.    INTRODUCTION

       Plaintiff Susan Mouw (“Plaintiff” or “Mouw) respectfully moves the Court

 for leave to file a First Amended Complaint, pursuant to Rule 15(a)(2) of the

 Federal Rules of Civil Procedure.

       The proposed First Amended Complaint is necessary so that Plaintiff can

 add allegations involving Defendant National Auto Division, LLC’s (“Defendant”

 or “NAD”) internal do not call procedures. Specifically, counsel in the sister case

 Evans v. National Auto Division, LLC (Case No. 15-cv-08714) was contacted by

 former employees of NAD who were willing to testify to NAD’s do not call
Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 2 of 13 PageID: 188



 procedures and training (or lack thereof). Counsel thereafter worked to obtain

 signed declarations from both former employees swearing on oath to NAD’s

 demand that NAD requires customers to use highly specific “magic” language

 before placing them on NAD’s internal do not call list and that NAD managers

 would publicly call-out and ridicule employees who, in management’s opinion,

 had placed too many numbers on the internal do not call list. Such conduct

 necessitates the need for the requested amendment, is improper, and violates the

 TCPA.

       This amendment is entirely consistent with the interests of justice, is

 requested in good faith, in no way acts to prejudice Defendant in any way, and is

 not an exercise in futility. Under Rule 15, leave to amend the pleadings is to be

 freely given, and the standards for granting leave are liberal. Accordingly, Plaintiff

 respectfully requests that the Court grant her motion and permit her filing of an

 amended complaint. Plaintiff’s proposed First Amended Complaint is attached

 hereto as Exhibit A.

 II.   BACKGROUND FACTS AND PROCEDURAL HISTORY

       A brief review of the facts and procedural history to date helps provide

 context to this request for leave to amend.

 NAD routinely makes unsolicited telemarketing calls in violation of the TCPA.

       NAD makes autodialed calls to cellphone users in which it tries to pitch the


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Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 3 of 13 PageID: 189



 users on buying extended automobile warranties. As discovery has revealed in

 Plaintiff Mouw's case, NAD obtained a lead containing her personal information in

 March 2016 from a lead broker called GotConsumer LLC. GotConsumer, in turn,

 obtained the lead (directly or indirectly) from Vaden Automotive, the operator of a

 website located at www.extendedchevroletwarranty.com. Mouw, whose cellular

 telephone number had been registered on the National Do Not Call Registry since

 July 1, 2014, started receiving NAD calls in March 2016.

       As alleged in the initial complaint, “[b]eginning in March 2016, Plaintiff

 began receiving numerous calls on her cellular phone from someone trying to sell

 her an extended warranty on her car. The calls came from two telephone numbers:

 (313) 765-1134, and (419) 216-9670.” (Dkt. ¶¶ 17-18.) During the very first call,

 Plaintiff told the caller she was not interested in purchasing a warranty. She also

 stated that she was on the Do Not Call Registry, and she requested not to be called

 again. (Dkt. ¶ 19.) Still, the calls continued, and on each call, Plaintiff told the

 caller to stop calling and that she had registered her phone number on the national

 Do Not Call Registry. (Dkt. ¶¶ 20-21.)

       Discovery has revealed that NAD tried to autodial Mouw’s cellphone

 number at least 22 times over an 8-day span (March 22, 2016 - March 30, 2016).

 There was no TCPA consent language on the extendedchveroletwarranty.com

 website at all. 47 C.F.R. § 64.1200(a)(3) (2013).


                                                                                        3
Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 4 of 13 PageID: 190




 In preparing for mediation, Counsel for Mouw and Evans notify NAD's lawyers
 of the testimony of former NAD employees and the internal do not call list claims

       As explained in Plaintiff's joint motion to consolidate this case with the

 Evans matter, in preparation for the mediation that had been previously scheduled

 in this case, counsel for Mouw and Evans had contact with former employees of

 NAD who were willing to testify to NAD’s do not call procedures and training (or

 lack thereof). Counsel thereafter worked to obtain signed declarations from both

 former employees swearing on oath to NAD’s demand that TRs and TSRs require

 customers use highly specific “magic” language before placing them on NAD’s

 internal do not call list and that NAD managers would publicly call-out and

 ridicule TRs and TSRs who, in management’s opinion, had placed too many

 numbers on the internal do not call list. Such chiding would occur during public

 meetings, where managers would speak from a raised platform before all of the

 TRs and TSRs, three times each day.

       On December 8, 2016, attorney Glapion, counsel for Evans, sent a letter to

 counsel for National Auto Division that included both declarations. Without

 disclosing the complete contents of Glapion’s letter—because it was sent in the

 context of the mediation process—one paragraph explained that the Parties needed

 to discuss, in advance of the mediation, a set of claims that had yet to be pled

 involving NAD’s failure to comply with certain sections of 47 CFR § 64.1200(d),

 including claims with respect to all people who NAD called that NAD failed to: (a)

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Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 5 of 13 PageID: 191



 maintain a written do not call policy, available upon demand ((d)(1)); (b) to train

 NAD’s employees on the existence and use of any internal do not call policy

 ((d)(2)); (c) to ensure that telephone numbers were placed on the list when

 requested ((d)(3)); (d) to honor do-not-call requests for a period of five years

 ((d)(6)); and (e) to disclose a call back number or address on the telemarketing

 calls ((d)(4)).

        Plaintiff's counsel did not receive a response, despite attempts to follow up.

 The mediation thereafter fell apart when NAD did an about-face and indicated it

 was no longer interested in attempting to resolve this matter on a class basis.1

 Hence, NAD's counsel has known of the precise nature of these claims and the

 primary evidence to be offered initially in support since December 8, 2016—

 approximately 116 days preceding the filing of this Motion for Leave to Amend.

 Moreover, Plaintiff’s counsel informed NAD in a February 15, 2017 letter that

 Plaintiff intended to amend “the complaint to include claims that allege NAD

 failed to implement a policy honoring do-not-call requests and/or failed to train its

 personnel engaged in telemarketing”. (See February 15, 2017 Discovery Letter,


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  That the mediation was intended to proceed on a class-wide basis could not have
 been more clear: on November 29, 2016 counsel for NAD sent an email stating
 “As I said, if we can resolve this, my client would want everything resolved (both
 cases).” Consistent with this position, during the December 7, 2016 conference
 with Magistrate Judge Arpert the Parties told the Court that they had agreed to
 mediate both the Mouw case and the Evans cases on a class basis using Magistrate
 Judge Denlow. Defendant's abrupt 180-degree turn has never been explained.

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Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 6 of 13 PageID: 192



 attached hereto as Exhibit B, at p. 4.) Simply put, NAD and its counsel have

 known about this for months.

 Counsel for Mouw and Evans wait to amend pending a decision on
 consolidation

       To be sure, Mouw did not seek leave to amend previously due to efforts

 following the failed attempt at mediation to consolidate this case with the Evans

 matter. Counsel for both Mouw and Evans advised counsel for NAD repeatedly

 that their intention was to wait until the Court decided consolidation to amend, the

 idea being that if consolidation were granted the Parties would seek leave to file a

 Consolidated Amended Complaint.

       On March 17, 2017, the Court heard oral argument on the motion to

 consolidate, and denied consolidation. (Dkt. 35).

 Following the Court's decision to deny consolidation, attempts to meet and
 confer fail to resolve this and other issues

       Subsequent attempts by the Parties to meet and confer to resolve this issue

 were unsuccessful. Despite knowing of the exact nature of these claims for months,

 NAD's counsel demanded to see a copy of the proposed amendment prior to

 indicating whether NAD objected. Counsel for Mouw provided a copy to counsel

 for NAD on March 31, 2017 and asked for a response by April 3, 2017 at 2:00 pm.

 NAD’s counsel, Jeffrey Greenbaum, responded on April 3, 2017 via email and

 stated “[y]our proposed amendment is improper and we do not consent”. As he did


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Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 7 of 13 PageID: 193



 not elaborate, it is unclear what attorney Greenbaum finds improper about

 Plaintiff’s proposed amendment.

        As explained below, the Court should grant Plaintiff Mouw leave to amend.

 Former employees have offered testimony that indicates NAD intentionally failed

 to record requests by consumers not to be called. Instead, NAD instructed its

 telemarketers to only honor requests that featured the “magic” words “put me on

 your do not call list.” And NAD managers went so far as to publicly ridicule

 employees who placed “too many” names on the list. This blatantly violates the

 TCPA and NAD suffers no prejudice by the inclusion of such allegations and

 claims.

 III.   ARGUMENT

        Under Federal Rule 15, leave to amend pleadings “shall be freely given

 when justice so requires.” See Fed. R. Civ. P. 15(a)(2); see also Foman v. Davis,

 371 U.S. 178, 182, 83 S.Ct. 227, 230, 9 L.Ed. 222 (1962) (“[Rule 15(a)(2)’s]

 mandate is to be heeded.”)

        “Among the factors that may justify denial of leave to amend are undue

 delay, bad faith, and futility.” Arthur v. Maersk, Inc., 434 F.3d 196, 204 (3d Cir.

 2006)). The Third Circuit, like other courts, has “consistently recognized, however,

 that ‘prejudice to the non-moving party is the touchstone for the denial of an

 amendment.’” Id. (quoting Lorenz v. CSX Corp., 1 F.3d 1406, 1414 (3d Cir.


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Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 8 of 13 PageID: 194



 1993)); see also Nourison Rug Corp. v. Parvizian, 535 F.3d 295, 298 (4th Cir.

 2008) (denial appropriate “only where [the amendment] would be prejudicial, there

 has been bad faith, or the amendment would be futile.”) (citing HCMF Corp. v.

 Allen, 238 F.3d 273, 276–77 (4th Cir. 2001)).

       As explained below, there is no prejudice to NAD here, nor has there been

 any undue delay or bad faith. Finally, the amendment would not be futile.

       A.     NAD will suffer no prejudice—the claims are related to
              allegations in the initial Complaint that NAD failed to honor
              requests by Mouw and others to no longer be called and NAD has
              known of the amendment for months.

       To demonstrate undue prejudice, the party opposing the motion to amend

 must show that “it will be ‘unfairly disadvantaged or deprived of the opportunity to

 present facts or evidence’ unless leave to amend is denied.” Trueposition, Inc. v.

 Allen Telecom, Inc., No. CIV.A.01-823 GMS, 2002 WL 1558531, at *2 (D. Del.

 July 16, 2002) (quoting Bechtel v. Robinson, 886 F.2d 644, 652 (3d Cir. 1989); see

 also Minter v. Prime Equip, Co., 451 F.3d 1196, 1208 (10th Cir. 2006) (“Courts

 have generally found undue prejudice where the amendment unfairly impacts the

 defendant’s ability to prepare its defense.”).

       NAD cannot seriously contend it will suffer prejudice here. First, the

 original Complaint contained similar allegations, on behalf of cellphone owners

 whose numbers are registered with the national Do Not Call registry, charging

 NAD with violations of the “do not call” regulations set forth in 47 C.F.R. §

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Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 9 of 13 PageID: 195



 64.1200, et seq., specific the failure to have a do not call policy and to properly

 train its staff. (Compl., Dkt. 1, ¶ 55.) The claims of the FAC simply expand such

 claims to cover everyone who NAD called on their cellphones at least thirty days

 after requesting that NAD stop calling—not simply those persons whose number

 had previously been registered on the National Do Not Call Registry. The policies,

 procedures, practices, and other information needed to prove the claim would be

 the same—the data required from Defendant is all that differs.

       Second, and related, is that Defendant has known of Plaintiff’s belief that

 such claims are included in the case since December 8, 2016, and was reminded of

 this in a February 15, 2017 letter (Ex. B). They can hardly claim surprise by the

 inclusion of such claims in an amended pleading. As such, NAD cannot show

 prejudice sufficient to deny leave to amend.

       B.     There has been no undue delay or bad faith—NAD was advised of
              the claims 116 days prior to the date of filing (and amendment
              was put off, with NAD’s knowledge, until after the Court’s ruling
              on consolidation).

       There has been no delay in seeking to amend, either. Plaintiffs’ Counsel

 raised the issue of seeking leave to amend back when the Parties were on track to

 mediate the case with Magistrate Judge Denlow. Amending during that process

 would have been antagonistic, so NAD’s counsel was notified of the claims via a

 letter. Hence NAD’s counsel was made aware 116 days prior to the filing of this

 Motion for Leave that such claims should be included.

                                                                                       9
Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 10 of 13 PageID: 196



        The mediation was ultimately canceled when NAD did an about-face and

  decided it was no longer interested in mediating on a class basis. Once the

  mediation was canceled, counsel for Evans and Mouw worked to file a joint

  motion to consolidate. Amendments were not filed during that time because if

  consolidation was granted the Parties would need to amend their claims yet again

  as part of a consolidated amended class action complaint.

        Consolidation was denied, however, on March 17, 2017. (Dkt. 35.) This

  Motion for Leave follows two weeks later. That is hardly undue delay or bad faith.

        Finally, it should be noted that although the proposed first amended

  complaint adds another class, it actually reduces the total number of claims from 8

  down to 5. As such, it’s a more streamlined pleading than the original filing.

  Again, that is a far cry from an 11th-hour attempt to blow open the case with

  entirely new issues.

        C.     The proposed amendment is hardly futile either: anyone who
               NAD called after the person requested stop has a claim
               challenging NAD’s “magic language” do not call policy.

        Finally, the proposed amendment isn't futile. Everyone who was exposed to

  NAD's rampant, systemic failures to honor do not call requests and who received

  additional calls on their cellphones at least 30 days after they said stop has a

  claim—not merely those cellphone owners who had previously registered their

  numbers on the national Do Not Call registry. The allegations would survive any


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Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 11 of 13 PageID: 197



  motion to dismiss. As such, there are no legitimate grounds for asserting that leave

  to amend should be denied based upon any claim of futility.

  IV.   CONCLUSION

        Plaintiff Mouw respectfully requests that the Court enter an Order granting

  her leave to file an amended complaint. NAD has known about Plaintiff’s intention

  to amend the complaint for months and thus would suffer no prejudice. There also

  is no undue delay or bad faith present here—Plaintiff waited to seek leave to

  amend until after the consolidation issue was resolved. Finally, the amendment

  would not be futile—should it be proven that NAD systematically failed to honor

  do-not-call requests, liability is clear, and the allegations taken in a light most

  favorable to Plaintiff would survive a Rule 12(b)(6) attack.


                  *             *             *            *              *


                                           Respectfully Submitted,


  Dated: April 3, 2017                     SUSAN MOUW, individually and on behalf
                                           of all others similarly situated,

                                           By: /s Stefan Coleman
                                           One of Plaintiff’s Attorneys

                                           Stefan Coleman
                                           Law Offices of Stefan Coleman, LLC
                                           1072 Madison Ave, Suite 1
                                           Lakewood, NJ 08701
                                           law@stefancoleman.com


                                                                                        11
Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 12 of 13 PageID: 198



                                     (877) 333-9427

                                     Steven L. Woodrow*
                                     swoodrow@woodrowpeluso.com
                                     Patrick H. Peluso*
                                     ppeluso@woodrowpeluso.com
                                     Woodrow & Peluso, LLC
                                     3900 East Mexico Ave., Ste. 300
                                     Denver, Colorado 80210
                                     (720) 213-0675

                                     *pro hac vice




                                                                            12
Case 3:16-cv-02947-AET-DEA Document 36-1 Filed 04/03/17 Page 13 of 13 PageID: 199



                           CERTIFICATE OF SERVICE

        I certify that on April 3 2017, I served this document on all counsel of record

  by filing the document with the Court using the Court’s electronic filing system.


                                        /s/ Stefan Coleman




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